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                                 Slip Op. 21-145

         UNITED STATES COURT OF INTERNATIONAL TRADE


 UNITED STATES,

       Plaintiff,
                                             Before: Jennifer Choe-Groves, Judge
 v.
                                             Court No. 17-00031
 GREENLIGHT ORGANIC, INC. and
 PARAMBIR SINGH AULAKH,

       Defendants.


                            OPINION AND ORDER

[Granting in part and denying in part Defendants’ motion to compel Plaintiff to
answer requests for admission.]

                                                   Dated: October 18, 2021

William Kanellis, Attorney, and Ashley Akers, Attorney, Commercial Litigation
Branch, Civil Division, U.S. Department of Justice, of Washington, D.C., for
Plaintiff United States. With them on the brief were Brian M. Boynton, Acting
Assistant Attorney General, Jeanne E. Davidson, Director, and Patricia M.
McCarthy, Assistant Director.

Robert B. Silverman and Joseph M. Spraragen, Grunfeld, Desiderio, Lebowitz,
Silverman & Klestadt LLP, of New York, N.Y., for Defendants Greenlight
Organic, Inc. and Parambir Singh Aulakh.

      Choe-Groves, Judge: This matter involves a discovery dispute in a claim

brought under 19 U.S.C. § 1592. Plaintiff United States (“Plaintiff”) brings this 19

U.S.C. § 1592 civil enforcement action seeking to recover unpaid duties and to
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affix penalties, alleging that Defendants Greenlight Organic, Inc. (“Greenlight”)

and Parambir Singh Aulakh (“Aulakh”) (collectively, “Defendants”) imported

wearing apparel into the United States fraudulently. Second Am. Compl. ¶ 1, ECF

No. 124. The statute, 19 U.S.C. § 1592, prohibits companies from making false

statements or omitting material information in the course of importing merchandise

into the United States through fraud, gross negligence, or negligence. See 19

U.S.C. § 1592(a)(1). Plaintiff alleges that Greenlight misclassified and

undervalued its subject merchandise fraudulently in violation of the statute.

Second Am. Compl. ¶¶ 21–22.

      Before the court is the Motion to Compel Plaintiff to Provide Proper

Answers to Defendants’ Requests for Admission (“Motion to Compel” or “Mot.

Compel”), ECF No. 155, filed by Defendants under USCIT Rule 36(a)(6) to

determine the sufficiency of Plaintiff’s answers and objections to Defendants’

requests for admission. See also Mem. Supp. Defs.’ Mot. Compel (“Defs.’ Mem.”)

at 4, ECF No. 155-1. Defendants assert that in responding to Defendants’ requests

for admission, Plaintiff failed to comply with USCIT Rule 36 by objecting and

making qualified denials to requests for admission numbers 1–43, 47–57, 59, 61–

75, 77–104, and 107–116. Mot. Compel at 1. Defendants ask the Court to direct

Plaintiff to provide sufficient answers or order that the matters are admitted, and

award legal fees incurred in preparing the Motion to Compel. Id. at 2–3. Plaintiff
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contends that it complied with USCIT Rule 36 in its answers and objections due to

misleading or ambiguous wording, use of excerpts from documents taken out of

context, and Plaintiff’s inability to confirm the veracity of information due to

destruction of corroborating records by Aulakh. United States’ Opp’n Defs.’ Mot.

Compel (“Pl.’s Opp’n”) at 1, ECF No. 161. For the following reasons, the Court

grants in part and denies in part the Motion to Compel.

                                 BAGKGROUND

      The Court presumes familiarity with the facts and procedural history and

recounts briefly the procedural history for context. Plaintiff commenced this

action against Greenlight on February 8, 2017. Summons, ECF No. 1; Compl.,

ECF No. 2. The Court denied Greenlight’s motion for summary judgment because

the record did not provide enough information to assess when Plaintiff first

discovered Greenlight’s fraud—whether in 2011, as Greenlight asserted, or in

February 2012, as Plaintiff asserted—from which time the five-year statute of

limitations began to run. See United States v. Greenlight Organic, Inc., 42 CIT __,

__, 352 F. Supp. 3d 1312, 1313–14, 1315–16 (2018) (citing 19 U.S.C. § 1621).

      Plaintiff filed the First Amended Complaint, adding Aulakh as a defendant

and pleading additional facts with leave of the Court on April 2, 2019. See First

Am. Compl., ECF No. 111. The Court granted Aulakh’s motion to dismiss the

First Amended Complaint for failure to state a claim upon which relief may be
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granted, with judgment to be entered after forty-five days if Plaintiff did not file a

second amended complaint.1 United States v. Greenlight Organic, Inc., 43 CIT __,

__, 419 F. Supp. 3d 1298, 1306 (2019).

      Plaintiff filed the Second Amended Complaint on January 8, 2020. Second

Am. Compl. The Court denied Aulakh’s motion to dismiss on the theories that

U.S. Customs and Border Protection (“Customs”) failed to exhaust administrative

remedies, the five-year statute of limitations had expired, and Plaintiff failed to

plead fraud with particularity based on additional facts pleaded in the Second

Amended Complaint.2 United States v. Greenlight Organic, Inc., 44 CIT __, __,

466 F. Supp. 3d 1260, 1263–66 (2020). Aulakh argued that the five-year statute of

limitations had run and Plaintiff asserted again that the Government discovered

Defendants’ fraudulent scheme in February 2012, when Aulakh first produced to

Customs records from Greenlight showing evidence of a double-invoicing scheme.

Id. at __, 466 F. Supp. 3d at 1264. The Court held that the Second Amended

Complaint contained sufficient facts accepted as true to establish on its face that


1
  The Court granted the motion of Greenlight’s counsel to withdraw its appearance
in this matter. Order (Feb. 27, 2018), ECF No. 108. Greenlight had not retained
counsel at the time of the Court’s decision on Aulakh’s motion to dismiss and did
not join Aulakh’s motion to dismiss. United States v. Greenlight Organic, Inc., 43
CIT __, __, 419 F. Supp. 3d 1298, 1301 n.1, 1306 (2019).
2
 Greenlight was not represented by counsel. United States v. Greenlight Organic,
Inc., 44 CIT __, __, 466 F. Supp. 3d 1260, 1261 n.1 (2020).
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the Government discovered the fraudulent activity in February 2012, and the

Complaint was filed within five years in February 2017. Id. at __, 466 F. Supp. 3d

at 1265.

                                 JURISDICTION

      The Court has jurisdiction over the underlying action pursuant to 28 U.S.C.

§ 1582.

                                  DISCUSSION

      I.     Legal Standards

      USCIT Rule 36 permits a party to serve a request for admission on another

party. USCIT R. 36(a)(1). When answering a request for admission:

      If a matter is not admitted, the answer must specifically deny it or state
      in detail why the answering party cannot truthfully admit or deny it. A
      denial must fairly respond to the substance of the matter; and when
      good faith requires that a party qualify an answer or deny only a part of
      a matter, the answer must specify the part admitted and qualify or deny
      the rest. The answering party may assert lack of knowledge or
      information as a reason for failing to admit or deny only if the party
      states that it has made reasonable inquiry and that the information it
      knows or can readily obtain is insufficient to enable it to admit or deny.

USCIT R. 36(a)(4). When objecting to a request for admission, “[t]he grounds for

objecting to a request must be stated.” USCIT R. 36(a)(5). To challenge

responses:

      The requesting party may move to determine the sufficiency of an
      answer or objections. Unless the court finds an objection justified, it
      must order that an answer be served. On finding that an answer does
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      not comply with this rule, the court may order either that the matter is
      admitted or that an amended answer be served.

USCIT R. 36(a)(6).

      “The purpose of requests for admission[] is not necessarily to obtain

information but to narrow the issue for trial.” Beker Indus. Corp. v. United States,

7 CIT 361, 361 (1984) (citation omitted). The purpose of USCIT Rule 36, as with

the corresponding Federal Rule of Civil Procedure Rule 36, “is to expedite trial by

eliminating the necessity of proving essentially undisputed and peripheral issues.”

See id. at 362. “Rule 36 admissions are ‘not to be used . . . in the hope that a

party’s adversary will simply concede essential elements.’” Kahrs Int’l, Inc. v.

United States, 33 CIT 117, 121, 602 F. Supp. 2d 1352, 1357 (2009) (quoting

Conlon v. United States, 474 F.3d 616, 622 (9th Cir. 2007)).

      II.    Requests for Admission Regarding Certain Entries and Vendors

      Defendants assert that Plaintiff’s responses to requests 1–33 are

unacceptable because Plaintiff is able to admit the matters based on entry records

in the possession of Customs, and Exhibits 1 and 2 filed by Plaintiff with the

Second Amended Complaint. Defs.’ Mem. at 8. Defendants explain that when a

foreign vendor ships an entry package to Greenlight, Greenlight’s broker prepares

a customs entry form based on the commercial invoice and bill of lading. Id. at 8–

9. Defendants explain further that “[t]he data received in all entry filings is
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maintained by [Customs] in a data base that is available to [Customs] personnel.”

Id. at 9. In Defendants’ view, Plaintiff is able to corroborate requests 1–33 with

entry information available to Plaintiff in Customs’ database. Id. at 8. Plaintiff

responds that it does not have the ability to admit the matters in requests 1–33

because there is evidence that Defendants and their “co-conspirators submitted

false documentation to the Government” and Defendants did not provide email

communications with Greenlight’s brokers or other internal records that may have

allowed Plaintiff to verify the information in requests 1–33. Pl.’s Opp’n at 9–10.

      Requests 1–3, 8–9, 14–15, 19–20, 24–25, and 29–30 ask Plaintiff to admit

facts related to certain entries. See Defs.’ Objs. Pl.’s Resps. Defs.’ [Reqs. Admis.]

(“Ex. B”), ECF No. 155-3. As an example of Plaintiff’s responses to requests 1–3,

8–9, 14–15, 19–20, 24–25, and 29–30, request 1 states and Plaintiff responds, in

relevant part:

      1. Admit that entry numbers 408-1163899-5 . . . covered goods
      purchased by Greenlight from Rajlakshmi Cotton Mills PVT. Ltd.
      (“Rajlakshmi”) in India.

      Response. Plaintiff objects because . . . defendants GREENLIGHT,
      AULAKH, and/or their co-conspirators destroyed, spoliated, or
      otherwise failed to disclose the GREENLIGHT records which would
      allow for a meaningful response as to the contents of the entries.
      Otherwise, denied.

Id. at 1–2.

      Plaintiff brings this case based on allegations that Defendants conspired with
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one of Greenlight’s foreign vendors, One Step Ahead, to make false statements to

Customs, and that Defendants created a second falsified set of invoices for

purchases from One Step Ahead. See Second Am. Compl. ¶¶ 9, 12–14, 17, 21.

Plaintiff also explains that Defendants blame Greenlight’s brokers. See Pl.’s

Opp’n at 9. Thus, there are allegations of falsified invoices and false statements by

Defendants, one of Greenlight’s foreign vendors, and possibly Greenlight’s

brokers. As Defendants explain, the information in Customs’ database, from

which the information in Exhibits 1 and 2 is derived, reflects information provided

in commercial invoices and prepared by Greenlight’s brokers. It seems to be

Plaintiff’s position that due to the allegations of false statements, Plaintiff does not

assume the veracity of any information provided by Defendants, Greenlight’s

foreign vendors, or Greenlight’s brokers without corroborating documentation,

which Defendants have not provided to Plaintiff. See id. at 9–10. Because

Plaintiff asserts an inability to answer due to lack of corroborating documentation,

Plaintiff’s objections are akin to “assert[ions] [of] lack of knowledge or

information as a reason for failing to admit or deny . . . and that the information it

knows or can readily obtain is insufficient to enable it to admit or deny” under

USCIT Rule 36(a)(4). The Court concludes that Plaintiff’s objections to requests

1–3, 8–9, 14–15, 19–20, 24–25, and 29–30 are justified or are sufficient answers

based on lack of knowledge or information.
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       Requests 4, 10, 16, 21, 26, and 31 ask Plaintiff to admit that Customs’

claims in this case exclude goods from respective vendors or manufacturers. See

Ex. B. As an example of Plaintiff’s responses to requests 4, 10, 16, 21, 26, and 31,

request 4 states and Plaintiff responds, in relevant part:

       4. Admit that [Customs] has no fraud claim against Greenlight that the
       Rajlakshmi goods should have been entered as knit goods.

       Response. Plaintiff objects because (1) defendants’ statement,
       “[Customs] has no fraud claim against Greenlight that the Rajlakshmi
       goods should have been entered as knit goods[,]” sic erat scriptum, is
       incoherent and prevents a meaningful response, and (2) defendant’s use
       of the term “fraud claim” is ambiguous, as it involves a legal question
       that is capable of multiple definitions, and otherwise misstates the basis
       of the fraud alleged against GREENLIGHT and AULAKH in the
       second amended complaint. Otherwise, because GREENLIGHT,
       AULAKH, and/or their co-conspirators destroyed, spoliated, or
       otherwise failed to disclose the GREENLIGHT records which would
       allow for a meaningful examination . . . , denied.

Id. at 4.

       “The purpose of requests for admission[] is . . . to narrow the issue for trial.”

Beker Indus. Corp., 7 CIT at 361 (citations omitted). The Second Amended

Complaint refers to “a manufacturer in Vietnam” and names only one

manufacturer, “One Step Ahead, the Vietnamese manufacturer of wearing

apparel.” See Second Am. Compl. ¶¶ 6, 9, 13–15. Defendants assert that “a

number of entries which are purported to be included in this case [] are not covered

by the allegations of misclassification and/or undervaluation in the complaint” or
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Exhibits 1 and 2. See Defs.’ Mem. at 8. Plaintiff initiated this action and is able to

answer, including by admitting, qualifying, or denying with specificity and in good

faith, whether the issues can be narrowed to exclude vendors or manufacturers

other than One Step Ahead. The Court concludes that Plaintiff’s objections to

requests 4, 10, 16, 21, 26, and 31 are not justified. Plaintiff shall answer pursuant

to USCIT Rule 36. See USCIT R. 36(a)(4) (“[W]hen good faith requires that a

party qualify an answer or deny only a part of the request, the answering party

must specify the part admitted and qualify or deny the rest.”); see also USCIT R.

37(a)(3) (“[A]n evasive or incomplete disclosure, answer, or response must be

treated as a failure to disclose, answer, or respond.”).

      Requests 5–7, 11–13, 17–18, 22–23, 27–28, and 32–33 ask Plaintiff to admit

that Exhibits 1 and 2 list or provide or do not list or provide information related to

entries of goods from respective vendors or manufacturers. See Ex. B. As an

example of Plaintiff’s responses to requests 5–7, 11–13, 17–18, 22–23, 27–28, and

32–33, request 5 states and Plaintiff responds, in relevant part:

      5. Admit [that] Exhibit 1 to the second amended complaint (Court Doc
      124) does not list any of the Rajlakshmi goods as having been
      fraudulently entered as woven goods.

      Response. Plaintiff objects because of defendants’ use of “Rajlakshmi
      goods,” for reasons stated in responses to requests for admission 1 and
      2, and because defendant[s] mischaracterize[] the purpose of Exhibit 1
      to the second amended complaint, which was not to identify goods
      which were “fraudulently entered,” but rather, to identify entries and
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       the classification for those entries, which were based upon the
       incomplete records supplied by GREENLIGHT and AULAKH.
       Plaintiff also objects because GREENLIGHT, AULAKH, and/or their
       co-conspirators destroyed, spoliated, or otherwise failed to disclose the
       GREENLIGHT records which would allow for a meaningful
       examination . . . .

Id. at 5.

       Exhibits 1 and 2 were filed by Plaintiff with the Second Amended

Complaint. Exhibit 1 is a spreadsheet that Plaintiff described as identifying “[t]he

specific date of entry, price, and factual circumstances” of the 148 entries from a

manufacturer in Vietnam about which Plaintiff alleges that Defendants made

material false statements. Second Am. Compl. ¶¶ 6–7. Exhibit 2 is a spreadsheet

that Plaintiff described as identifying “[e]ntries for which AULAKH and

GREENLIGHT created two sets of invoices, including the date of entry and the

factual circumstances relating to each entry.” Id. ¶¶ 12, 15. Plaintiff filed Exhibits

1 and 2 and Plaintiff is able to answer concerning information as listed or provided

or not listed or provided in Exhibits 1 and 2. The Court concludes that Plaintiff’s

objections to requests 5–7, 11–13, 17–18, 22–23, 27–28, and 32–33 are not

justified. Plaintiff shall answer pursuant to USCIT Rule 36. See USCIT R.

36(a)(4); see also USCIT R. 37(a)(3).

       III.   Terms and Phrases in Certain Requests for Admission

       Defendants assert that Plaintiff’s answers and denials to requests 1, 4, 7–8,
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10, 14, 16–19, 21, 23–24, 26, 28–29, 31, 33, 36–38, 40–42, 48–51, 53–54, and 71–

72 based on ambiguity of terms or phrases are insufficient. Defs.’ Mem. at 11–13.

      Plaintiff objected to the use of the terms “covered” or “covered by” as

ambiguous in requests 1, 8, 14, 19, 24, and 29. Ex. B at 2, 8, 12, 16, 20, 24. The

Court concluded above that Plaintiff’s objections to requests 1, 8, 14, 19, 24, and

29 were justified and does not consider Plaintiff’s objections to the terms

“covered” or “covered by.”

      Plaintiff objected to the use of the terms “freight charges,” “international

freight charges,” “vendors,” and “international freight deductions” in requests 37–

38 and 40–42; the term “CIF USA port terms” in requests 40 and 41; and the term

“FOB foreign port terms” in request 42. Ex. B at 30–33. Defendants argue that

the terms are “commonly used industry terms” that both parties have used

“throughout this litigation without issue.” Defs.’ Mem. at 12.

      As an example of Plaintiff’s responses to requests 37–38 and 40–42, request

37 states and Plaintiff responds:

      37. Admit that Greenlight’s payments for customs duties and freight
      charges were not separately identified on Greenlight’s tax returns.

      Response. Plaintiff objects because defendants’ request for admission
      uses terms that are ambiguous, such as “freight charges,” because
      defendants[’] question is overbroad, and because the Government does
      not possess the GREENLIGHT tax returns to allow it to answer this
      request for admission. Otherwise, denied.
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Ex. B at 30. Plaintiff’s objection to request 37 because it does not possess

Greenlight’s tax returns is akin to an “assert[ion] [of] lack of knowledge or

information as a reason for failing to admit or deny . . . and that the information it

knows or can readily obtain is insufficient to enable it to admit or deny” under

USCIT Rule 36(a)(4). The Court concludes that Plaintiff’s objection to request 37

is justified or is a sufficient answer based on lack of knowledge or information.

      For responses 38 and 40–42, Plaintiff also objected “because

GREENLIGHT, AULAKH, and/or their co-conspirators destroyed, spoliated, or

otherwise failed to disclose the GREENLIGHT records which would allow for a

response to this request for admission.” Ex. B at 31–33. For the reasons discussed

above, Plaintiff’s objections to requests 38 and 40–42 are justified or are sufficient

answers based on lack of knowledge or information.

      Plaintiff objected to the following terms related to fraud—“fraud claim,”

“fraudulent undervaluation,” “undervaluation details,” “details of undervaluation,”

“fraudulent misclassification and undervaluation,” “fraudulent customs

undervaluation and fraudulent consumer product misstatements,” “fraudulent

customs undervaluation,” “fraudulently entered as woven goods,” and “details for

any double payments”—in requests 4, 7, 10, 16–18, 21, 23, 26, 28, 31, 33, 48–51,

53–54, and 71–72. Defs.’ Mem. at 13. Defendants argued that “[t]he

Government’s ambiguity claim regarding these phrases is without merit as they are
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the basis for [its] entire case before this Court.” Id. The Court concluded above

that Plaintiff is able to and shall answer requests 4, 7, 10, 16–18, 21, 23, 26, 28, 31,

and 33 because they relate to Plaintiff’s allegations and exhibits.

      Requests 48–51 and 53–54 ask Plaintiff to respond concerning information

as identified or not identified in Exhibit 2 filed with Plaintiff’s Second Amended

Complaint. See Ex. B. Requests 48–51 and 53–54 state:

      48. Admit that Exhibit 2 to Plaintiff’s Second Amended Complaint
      does not identify details for any double payments or for any
      undervaluation for Greenlight entries filed in 2008 or 2009.

      49. Admit that Exhibit 2 to Plaintiff’s Second Amended Complaint
      identifies double invoicing and/or undervaluation details for only some
      of Greenlight’s entries of goods purchased from One Step Ahead which
      were filed in 2010.

      50. Admit that Exhibit 2 to Plaintiff’s Second Complaint does not
      identify double invoicing and/or undervaluation details for Greenlight
      entries of goods purchased from vendors other than One Step Ahead
      which were filed in 2010.

      51. Admit that the 2010 entries in Exhibit 2 for which details of
      undervaluation have been provided account for 18.98% of entered
      value for Greenlight’s entries filed in 2010.

      53. Admit that Exhibit 2 to Plaintiff’s Second Complaint identifies
      undervaluation details for only some of Greenlight’s entries of goods
      purchased from One Step Ahead which were filed in 2011, and
      Greenlight entry WLQ 1101356-2 of goods purchased from
      Rajlakshmi, and Greenlight entry WLQ 1101344-8 of goods purchased
      from Chau Thy.

      54. Admit that the 2011 entries in Exhibit 2 for which details of
      undervaluation have been provided account for 39.41% of entered
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      value for Greenlight’s entries filed in 2011.

Id. at 34–38.

      Exhibit 2 is a spreadsheet that Plaintiff filed, and Plaintiff described as

identifying “[e]ntries for which AULAKH and GREENLIGHT created two sets of

invoices, including the date of entry and the factual circumstances relating to each

entry.” Second Am. Compl. ¶ 12. Exhibit 2 has five columns grouped together

under the title “Payment (Double) Invoice.” Id. Ex. 2. Exhibit 2 also has a

“Legend” for color-coded cells of the spreadsheet for “Qty differences between 1st

and 2nd invoices,” “Unit price in 2nd invoice was lower than the 1st invoice,” and

“Total payment does not match 2nd invoice.” Id. The “Legend” includes “NOTE:

This worksheet only shows details for those entries where the 2nd invoices and/or

payment records were provided.” Id. Plaintiff filed Exhibit 2 and Plaintiff is able

to answer requests 48–51 and 53–54 concerning information as identified or not

identified in Exhibit 2. The Court concludes that Plaintiff’s objections to requests

48–51 and 53–54 are not justified. Plaintiff shall answer pursuant to USCIT Rule

36. See USCIT R. 36(a)(4); see also USCIT R. 37(a)(3).

      The Court’s discussion of Plaintiff’s objections to requests 71–72 is included

below.
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      IV.    Requests for Admission Regarding the Government’s
             Investigation

      Requests 69–116 relate to the investigation into Greenlight’s activities as

presented in documents that were produced in discovery by Plaintiff. See Defs.’

Mem. at 13, 15; Ex. B at 45–71. Defendants challenge the sufficiency of

Plaintiff’s responses to requests 69–75, 77–104, and 107–116. Mot. Compel at 1.

As an example of Plaintiff’s objections to requests 69–75, 77–90, 92–104, 107–

109, and 111–116, request 69 states and Plaintiff responds:

      69. Admit that on or about May 31, 2011, U.S. Immigration and
      Customs Enforcement (“ICE”) received a complaint that alleged
      fraudulent customs undervaluation and fraudulent consumer product
      misstatements by Greenlight. (DOC# US0000001-US0000012).

      Response. The Government objects because this request for admission
      misstates or mischaracterizes the contents of the document cited, and
      does not properly reflect the context of the document in relation to other
      contemporaneous documents. Otherwise, denied.

Ex. B at 45. Request 91 states and Plaintiff answers:

      91. Admit that on or about September 26, 2011[,] ICE sought
      investigative assistance from the ICE Attaché in Vietnam relating to the
      investigation of Greenlight undervaluation and misclassification.
      (DOC# US0012011-US0012012).

      Response. The Government admits that in September 2011, HSI sought
      assistance from an HSI attache in Vietnam relating to GREENLIGHT.
      Otherwise, denied.

Id. at 57. Request 110 states and Plaintiff answers:

      110. Admit that on December 14, 2012, [Customs] Field Director,
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      Office of Regulatory Audit, San Francisco[,] CA transmitted the results
      of audit report number 811-12-ATIAU-23550 to ICE Supervisory
      Special Agent Kevin Glazner, Oakland[,] CA. (DOC# US0002253-
      US0002304).

      Response. Plaintiff admits that on or about December 14, 2012,
      [Customs] Regulatory Audit communicated with HSI Supervisory
      Special Agent Kevin Glazner relating to an audit of GREELIGHT.
      Otherwise, denied.

Id. at 66–67.

      Defendants assert that Plaintiff’s objections and answers to requests 69–75,

77–104, and 107–116 based on ambiguity, mischaracterization, misstatement,

and/or lack of context are insufficient. Defs.’ Mem. at 15. In Defendants’ view,

“an item-by-item review of each request for admission and government response

thereto demonstrates the lengths to which plaintiff went to deny the obvious - that

the statute of limitations ran before plaintiff filed its complaint in this case.” Id.

Plaintiff counters that the parties disagree regarding the date that fraud was

discovered, from which the statute of limitations would begin to run, and requests

69–116 are Defendants’ attempt to settle this dispute through the inappropriate

medium of requests for admission. Pl.’s Opp’n at 14–16.

      The purpose of requests for admission is to identify undisputed facts or

issues, see Beker Indus. Corp., 7 CIT at 362, not to confront an opposing party into

conceding an essential fact or issue, see Kahrs Int’l, 33 CIT at 121, 602 F. Supp. 2d

at 1357 (quoting Conlon, 474 F.3d at 622). The date of discovery of fraud is a
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disputed and potentially dispositive issue. Even if Defendants interpret documents

related to communications and investigations to readily establish the date of

discovery of fraud, Plaintiff is not required to admit to Defendants’ interpretation

of the facts. The Court concludes that Plaintiff’s objections and answers to

requests 69–75, 77–104, and 107–116 are justified and sufficient due to the

disputed contents and context of the referenced documents.

      V.     Request for Attorney’s Fees

      Because Plaintiff’s objections were substantially justified, the Court does not

order payment of attorney’s fees. See USCIT R. 37(a)(4)(A)(ii).

                                    CONCLUSION

      Upon consideration of the Motion to Compel, and all other papers and

proceedings in this action, it is hereby

      ORDERED that the Motion to Compel, ECF No. 155, is granted in part and

denied in part; and it is further

      ORDERED that Plaintiff shall serve amended answers to requests 4–7, 10–

13, 16–18, 21–23, 26–28, 31–33, 48–51, and 53–54 on opposing counsel on or

before November 5, 2021.

                                                        /s/ Jennifer Choe-Groves
                                                      Jennifer Choe-Groves, Judge

Dated:     October 18, 2021
         New York, New York
